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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ABC Corporation I et al,

                      Plaintiff,                CASE NO. 1:20-cv-04806

        v.                                      Judge: Honorable Thomas M. Durkin

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                      Defendants.


              DEFENDANT AND THIRD-PARTY RESPONDENTS’ MOTION
               FOR SUMMARY JUDGEMENT OF NON-INFRINGEMENT


       Come Now, Defendant Gyroor-US (“Defendant” or “Gyroor-US”) and Third-Party

Respondents Gyroor, Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM (collectively,

“Third-Party Respondents”) respectfully move the Court to grant summary judgment of non-

infringement of Defendant and Third-Party Respondents’ Accused Product A, Accused Product B,

Accused Product C, Accused Product D, and Accused Product E.

       In support of this Motion, Defendant and Third-Party Respondents herewith submit a

Memorandum of Law.




 Date: 9/6/2023                                /s/ Na Zhang
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this September 6, 2023, I electronically filed the foregoing

file with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel

of record and interested parties through this system, which will deliver a true and correct copy of

the foregoing documents via CM/ECF.




 Date: 9/6/2023                                  /s/ Na Zhang
